       Case 1:21-cr-00175-TJK Document 285-15 Filed 02/07/22 Page 1 of 4




                                                       U.S. Department of Justice

                                                       Matthew M. Graves
                                                       United States Attorney

                                                       District of Columbia

                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530




                                                       February 1, 2022

Via Email and Electronic File Transfer


 Lisa Costner                                     Carmen D. Hernandez
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                Re:   United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       I write to memorialize another production related to the above-captioned case as part of the
government’s efforts to produce preliminary discovery on an ongoing basis. Today the
government produced a fourth round of materials from Mr. Donohoe case file maintained by the
Federal Bureau of Investigation (FBI). The materials described herein have been made available
for download in the Cross Discovery folder on USAfx, and an index is provided with the
production.

       Please note that the file names bear the titles as assigned by the FBI’s electronic systems.
This production includes grand jury subpoena material, some of which were previously produced
by the U.S. Attorney’s Office (see production of July 9, 2021). The FBI file names of these
materials contain “GJ.” Given the personal identification information and financial information
contained in those materials, those have been designated HIGHLY SENSITIVE, except as to the
       Case 1:21-cr-00175-TJK Document 285-15 Filed 02/07/22 Page 2 of 4




individual to whom the information pertains. Consistent with other cross-discovery productions,
all other materials are designated SENSITIVE except as to defendant Donohoe.

         Please let us know if you have been unable to access and download the materials for your
use in this case. To assist our future productions of discovery, we would again request that you
return external hard drives that we have supplied, once you have had an opportunity to copy the
materials.

       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.

                                                    Sincerely yours,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY

                                            By:            /s/
                                                    Luke M. Jones
                                                    Assistant United States Attorney
                                                    555 4th Street, N.W.
                                                    Washington, D.C. 20530
                                                    (202) 252-7066
                                                    Luke.jones@usdoj.gov




                                               2
       Case 1:21-cr-00175-TJK Document 285-15 Filed 02/07/22 Page 3 of 4




                 Index of Production of Donohoe FBI Files on February 1, 2022

Highly Sensitive Files are identified below and are being produced in a separate folder. All
other files are designated Sensitive, except as to defendant Donohoe, as described in the
discovery correspondence.

 Serial Number      File Name                                                   Highly
                                                                                Sensitive
             49     0176-CE-3401971_0000049.pdf
             49     0176-CE-3401971_0000049_1A0000020_0000001.pdf
             50     0176-CE-3401971_0000050.pdf
             50     0176-CE-3401971_0000050_1A0000021_0000001.pdf
             51     0176-CE-3401971_0000051.pdf
             52     0176-CE-3401971_0000052.pdf
             52     0176-CE-3401971_0000052_1A0000022_0000001.pdf
             53     0176-CE-3401971_0000053.pdf
             53     0176-CE-3401971_0000053_1A0000023_0000001.pdf
             55     0176-CE-3401971_0000055.pdf
             55     0176-CE-3401971_0000055_Import.msg
             56     0176-CE-3401971_0000056.pdf
             57     0176-CE-3401971_0000057.pdf
             57     0176-CE-3401971_0000057_Import.pdf
              1     0176-CE-3401971-GJ_0000001.pdf                              Yes
              1     0176-CE-3401971-GJ_0000001_1A0000001_0000001.txt            Yes
              1     0176-CE-3401971-GJ_0000001_1A0000001_0000002.pdf            Yes
              1     0176-CE-3401971-GJ_0000001_1A0000001_0000003.zip            Yes
              2     0176-CE-3401971-GJ_0000002.pdf                              Yes
              2     0176-CE-3401971-GJ_0000002_1A0000002_0000002.zip            Yes
              3     0176-CE-3401971-GJ_0000003.pdf                              Yes
              3     0176-CE-3401971-GJ_0000003_1A0000003_0000001.pdf            Yes
              4     0176-CE-3401971-GJ_0000004.pdf                              Yes
              4     0176-CE-3401971-GJ_0000004_1A0000004_0000001.pdf            Yes
              4     0176-CE-3401971-GJ_0000004_1A0000004_0000002.xlsx           Yes
              4     0176-CE-3401971-GJ_0000004_1A0000004_0000003.xlsx           Yes
              4     0176-CE-3401971-GJ_0000004_1A0000004_0000004.pdf            Yes
              4     0176-CE-3401971-GJ_0000004_1A0000004_0000005.pdf            Yes
              5     0176-CE-3401971-GJ_0000005.pdf                              Yes
              5     0176-CE-3401971-GJ_0000005_1A0000005_0000001.pdf            Yes
              6     0176-CE-3401971-GJ_0000006.pdf                              Yes
              6     0176-CE-3401971-GJ_0000006_1A0000006_0000001.zip            Yes
              7     0176-CE-3401971-GJ_0000007.pdf                              Yes
              7     0176-CE-3401971-GJ_0000007_1A0000007_0000001.zip            Yes
Case 1:21-cr-00175-TJK Document 285-15 Filed 02/07/22 Page 4 of 4




      8   0176-CE-3401971-GJ_0000008.pdf                      Yes
      8   0176-CE-3401971-GJ_0000008_1A0000008_0000001.zip    Yes
      9   0176-CE-3401971-GJ_0000009.pdf                      Yes
      9   0176-CE-3401971-GJ_0000009_1A0000009_0000001.zip    Yes
      9   0176-CE-3401971-GJ_0000009_1A0000009_0000002.pdf    Yes
      9   0176-CE-3401971-GJ_0000009_1A0000009_0000003.pdf    Yes
     10   0176-CE-3401971-GJ_0000010.pdf                      Yes
     10   0176-CE-3401971-GJ_0000010_1A0000010_0000001.docx   Yes
     10   0176-CE-3401971-GJ_0000010_1A0000010_0000002.pdf    Yes
     10   0176-CE-3401971-GJ_0000010_1A0000010_0000003.zip    Yes
     11   0176-CE-3401971-GJ_0000011.pdf                      Yes
     11   0176-CE-3401971-GJ_0000011_1A0000011_0000001.pdf    Yes
     11   0176-CE-3401971-GJ_0000011_1A0000011_0000002.pdf    Yes
     11   0176-CE-3401971-GJ_0000011_1A0000011_0000003.zip    Yes
     12   0176-CE-3401971-GJ_0000012.pdf                      Yes
     12   0176-CE-3401971-GJ_0000012_1A0000012_0000001.xlsb   Yes
     12   0176-CE-3401971-GJ_0000012_1A0000012_0000002.xlsb   Yes
     12   0176-CE-3401971-GJ_0000012_1A0000012_0000003.png    Yes
     12   0176-CE-3401971-GJ_0000012_1A0000012_0000004.png    Yes
     12   0176-CE-3401971-GJ_0000012_1A0000012_0000005.png    Yes
     12   0176-CE-3401971-GJ_0000012_1A0000012_0000006.png    Yes
     12   0176-CE-3401971-GJ_0000012_1A0000012_0000007.pdf    Yes
     12   0176-CE-3401971-GJ_0000012_1A0000012_0000008.png    Yes
     13   0176-CE-3401971-GJ_0000013.pdf                      Yes
     13   0176-CE-3401971-GJ_0000013_1A0000013_0000001.pdf    Yes
     13   0176-CE-3401971-GJ_0000013_1A0000013_0000002.pdf    Yes
     13   0176-CE-3401971-GJ_0000013_1A0000013_0000003.pdf    Yes
     13   0176-CE-3401971-GJ_0000013_1A0000013_0000004.pdf    Yes
     13   0176-CE-3401971-GJ_0000013_1A0000013_0000005.pdf    Yes
     13   0176-CE-3401971-GJ_0000013_1A0000013_0000006.pdf    Yes
     14   0176-CE-3401971-GJ_0000014.pdf                      Yes
     14   0176-CE-3401971-GJ_0000014_1A0000014_0000001.pdf    Yes
     14   0176-CE-3401971-GJ_0000014_1A0000014_0000002.zip    Yes
     14   0176-CE-3401971-GJ_0000014_1A0000014_0000003.txt    Yes
     15   0176-CE-3401971-GJ_0000015.pdf                      Yes
     15   0176-CE-3401971-GJ_0000015_1A0000015_0000001.xlsx   Yes
     15   0176-CE-3401971-GJ_0000015_1A0000015_0000002.pdf    Yes
     15   0176-CE-3401971-GJ_0000015_1A0000015_0000003.pdf    Yes




                                    2
